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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

RECARDO BONNER,

Defendant.                                                   No. 07-30136-DRH

                                        ORDER

HERNDON, Chief Judge:

             Before the Court is Defendant Recardo Bonner’s Motion for Extension

of Time to File Objections to Presentence Investigation Report (“PSR”) (Doc. 354).

Defendant Bonner argues that his counsel was not sent a copy of the pre-sentence

report and needs an additional fourteen days to file objections. Defendant also

argues that his counsel requires additional time to research issues that were raised

upon review of the PSR with Defendant.

             As to Defendant’s argument that his counsel did not receive a copy of the

PSR, the Court notes that Counsel had access to the PSR through CM/ECF and

should have accessed CM/ECF in order to obtain the PSR in a timely fashion. The

Court also notes that if counsel failed to receive notice of the filing of the PSR, it is

most likely due to the fact that Counsel failed to update his email address with the

Clerk of Court. Counsel is required to keep the Clerk advised at all times of his

current contact information. However, because Defendant argues that his counsel

needs additional time to research issues raised upon review of the PSR with the
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Defendant, the Court GRANTS Defendant Bonner’s motion for extension of time to

file objections (Doc. 354). Defendant will have to and including August 28, 2009

in which to file objections.

             IT IS SO ORDERED.

             Signed this 17th day of August, 2009.



                                            /s/      DavidRHer|do|
                                            Chief Judge
                                            United States District Court




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